Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 1 of 6




                              UNITED STATES DISTRICT CO URT
                              SO UTHERN DISTRICT O F FLO RIDA
                            CASE NO . 06-14028-CR-M OO RE/LYNCH
   UNITED STATES O F AM ERICA,
          Plaintiff,                                            FILED by           D.C.
   V.

   ANTO NIO FERG USO N,                                            N0V 1! 2911
                                                                   STEMEN M LARIMORE
          Defendant.                                                CLERKuà.DlsmcT.
                                                                  s.D.oFFLJ.-FxPIERCE
                                       l
                        REPO RT AND RECO MM ENDATION O N PETITIO N
                       ALLEG ING VIO LATION O F SUPERVISED RELEASE

         THIS CAUSE having com e on to be heard for a final evidentiary hearing on

   Novem ber19,2014 in respectto the pending Petition Alleging Violation OfSupervised

   Release,and this Court having received evidence by way of sworn testim ony and

   argum ents ofcounsel,m akesthe following recom m endation to the DistrictCourt:

          1.     The Petition Alleging Violation ofSupervised Release dated October22,

   2014 alleges one violation w hich is as follows:

                Violation Num ber1          Violation ofMandatory Condition,by failing to
                                            refrain from violation of the Iaw. O n or about
                                            O ctober18,2014,inSaintLucie County,Florida,
                                            the defendantcom m ittedthe offense ofthrowing
                                            a deadly m issile into a dwelling, building, or
                                            vessel(one count),contrary to Florida Statute
                                            790.19.
                                                  ,crim inal m ischief dam age to property
                                            over$1,000.00 (one count),contrary to Florida
                                            Statute 806.13(1)(b)3.
          2.    Atthe outsetofthe evidentiary hearing,both parties stipulated thatthe state

   charge ofthrow ing a deadly m issile has been dropped/abandoned bythe State ofFlorida.

   The only prosecution pending in the State ofFlorida is the crim inalm ischiefcharge as set

   fodh in the violation.
Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 2 of 6




         3.     The governm entcalled as its firstwitness Deputy SheriffM illerofthe St.

   Lucie County Sherifrs Office. Deputy Millertestified thathe was on duty on O ctober18,

   2014 and responded to 5801 Shannon Drive in Fod Pierce,Florida,in respectto an

   alleged vandalism to vehicle com plaint. Atthat location,Deputy M illerinterviewed M s.

   Jones,who was the alleged victim ofthe vandalism .Ms.Jonestold Deputy M illerthatthe

   Defendant,who was presentatthatscene as well,threw a m ilk crate athervehicle. The

   m ilk crate allegedly dam aged herw indshield and a w indshield w iper. Deputy M iller

   observed damage to M s.Jones'vehicle.

         4.     Counselforthe Defendantobjected to the hearsay testimony. This Court
   inquired ofthe governm entasto why M s.Jones was notpresentatthis hearing.Counsel

   for the governm ent stated that Ms. Jones has been contacted and has refused to

   cooperate orbe presentfortestim ony atthis hearing.Counselforthe DefendantIikewise

   stated Iaterduring thishearingthatthey attem pted to contactMs.Jones.She wasequally

   uncooperative with the defense.

         5.     Based upon the explanation by the governm ent,this Courtoverruled the

   hearsayobjectionandpermittedthetestimonyto be receivedbythe Coud andstatedthat
   itwould give whateverweightis appropriate afterthis Courtreceives aIIofthe evidence.

         6.     Deputy M illertestified thatthe Defendant's girlfriend was also atthe scene

   when Deputy M illerarrived.She was unwilling to talkwith Deputy M illeraboutthe alleged

   incident.
         7.     Deputy M illerarrested the Defendant,handcuffed him ,and read him his

   M iranda rights. The Defendantdid not m ake any statem ents. Since this was a shift



                                             2
Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 3 of 6




   change time,Deputy M illerturned the case and the Defendantoverto Deputy Reynolds

   ofthe St.Lucie County Sheriff's Office.

         8.     Deputy M illerhad no firsthand knowledge ofthe claim s m ade by Ms.Jones

   asthe alleged victim .AIIofthe inform ation he has aboutthiscase com esfrom Ms.Jones,

   who has refused to cooperate orbe available forexam ination before this Coud.

         9.     The nextwitness called by the governm entw as Deputy SheriffReynolds of

   the St.Lucie County Sheriff's O ffice. He testified that he responded to the scene in

   question and took overthe m atterfrom Deputy M iller. Ms.Jones,the alleged victim ,told

   Deputy Reynolds the sam e story that she had previously told Deputy M iller. Deputy

   Reynolds saw a m ilk crate atthe scene,He photographed the m ilk crate and the alleged

   dam age to the vehicle.

         10.    The Defendantm ade no adm issions. The Defendantsim ply told Deputy

   Reynoldsthathe was doing wellon supervised release,working and doing a good job.
   Deputy Reynoldstookthe Defendantto the jailand booked him there. He has had no
   fudhercontactwith the Defendant.The Defendantm ade no adm issions in his presence.

         11.    DeputyReynoldshasnotreceived anyfudherinform ationornoticesfrom the

   State Attorney's Office concerning the arrestofthe Defendantin this case.

          12.   The Defendantpresented no witnessesatthe evidentiary hearing. Counsel

   forthe Defendant m ade the argumentthatthe governm enthad failed to present,by a

   preponderance of the evidence, that the Defendant had violated any conditions of

   supervised release.ln response,counselforthe governmentargued thattheywere sim ply

   presenting whateverevidence wasin factavailable to them forconsiderationby the Court.



                                             3
Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 4 of 6




                                          ANALYSIS

         13. This Coudfindsthatthe Iackofcooperation bythe alleged victim ,M s.Jones,

   speaks volumes as to whether ornotthe Defendant did in factcom m itthese acts as

   alleged by her, There is no evidence before the CourtthatMs.Jones has atany tim e

   signed an affidavitorm ade these allegations underoath.She has apparently refused to

   cooperate with the Uni
                        ted States Attorney's Office,U.S.Probation Office,and the Office

   ofthe FederalPublic Defender,who presently represents the Defendantin this m atter.

          14. The onlyevidence before thisCoud is hearsay.The hearsaystatements are

   purpodedlyfrom an individualwho now refusesto cooperate,presentherselffortestim ony

   underoath and cross-exam ination,This causesthis Courtto findthe evidence againstthe

   Defendantin this regard to be insufficientas a m atteroflaw to sustain a finding thatthe

   Defendantviolated his supervised release.

          15.   ThisCourtwould also pointoutthatboth the governm entand the Defendant

   stipulated thatthe state has already dropped the throwing a deadly m issile charge in the

   state prosecution, Therefore,allthatrem ains in the state case is the crim inalm ischief

   chargeallegingdamageinexcessof$1,000.Thislikewisespeakstothesufficiencyofthe
   evidence againstthe Defendantsince itis apparentthatthe State Attorney's Office has

   m ade thisdecisionwithoutevencontactingthe arresting officers,DeputyM illerand Deputy

   Reynolds,

          16.   Based uponthe entire record presented to thisCoud,thisCoud recom m ends

   to the District Courtthat the Defendant be found to have not violated his supervised

   release in respectto the sole violation setfodh inthe Petition. lnthe eventthatthe District

   Coud disagreesw iththisrecom mendation,thenthe DistrictCoudshould seta specifictime

                                               4
Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 5 of 6




   forfurtherfinalhearings in respectto the allegations setforth in the Petition. This Court
   advised the Defendantthathe remains on bond in this m atterunderthe sam e condi
                                                                                 tions

   previously setby this Court untilsuch tim e as the DistrictCoud enters a finalorderin

   respecttothis PetitionAlleging ViolationofSupervised Release.ThisCoud also explained

   to the Defendanton the record thatthis is merely a Recom m endation by this Courtto the

   DistrictCoud and thatthe DistrictCoud can disregard this Recom m endation and proceed

   to a finalhearing.
         ACCO RDING LY,this Courtrecom mends to the DistrictCourtthatthe Defendant

   be found to have notviolated his supervised release in respectto this Petition and the

   Defendantdischarged in respectto the presentproceedings pending fudherorderofthe

   Court.

          The parties shallhave foudeen (14) days from the date of this Repod and
   Recommendation within which to file objections,ifany,with the Honorable K.Michael
   Moore,the United States DistrictJudge assigned to this case. Pursuantto FederalRules

   ofCriminalProcedure,Rule 59(b)(2),failureto file objectionstimelywaivesa pady's right
   to review and bars the padies from attacking on appealany legalrulings and factual

   findings contained herein.
          DO NE AND SUBM ITTED this            F'
                                                l-day ofNovem ber,2014,atFortPierce,

   Nodhern Division ofthe Southern DistrictofFlorida.




                                             RA N .LYN , .
                                            U    D STATES MAG I          ATE JUDG E

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Case 2:06-cr-14028-KMM Document 438 Entered on FLSD Docket 11/19/2014 Page 6 of 6




   Copies furnished:
   Hon.K.M ichaelM oore
   AUSA Theodore M .Cooperstein
   AFPD FletcherPeacock
   U.S.Probation




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